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April 9, 2018
Via ECF

Honorable Denise L. Cote
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

        Re:      SEC v. Alpine Securities Corp., Civil No. 1:17-cv-04179-DLC

STIPULATED LETTER MOTION REQUESTING ONE-WEEK EXTENSION, UNTIL
APRIL 20, 2018, TO FILE A MOTION FOR RECONSIDERATION OF THIS COURT’S
                     MARCH 30, 2018 OPINION AND ORDER

Dear Judge Cote:

         Defendant Alpine Securities Corporation (“Alpine”) is requesting a one-week extension
to file a Motion for Reconsideration of the summary judgment rulings in the Court’s March 30,
2018 Opinion and Order (the “Opinion”) pursuant to Local Rule 6.3. Pursuant to Local 6.3,
“[u]nless otherwise provided by the Court or by statute or rule (such as Fed. R. Civ. P. 50, 52,
and 59), a notice of motion for reconsideration or reargument of a court order determining a
motion shall be served within fourteen (14) days after the entry of the Court’s determination of
the original motion . . .” S.D.N.Y. Rule 6.3 (emphasis added). Additional time is necessary as
Alpine is evaluating whether to file a Motion and assessing the Opinion and applicable case law.
       Alpine has conferred with the counsel for Plaintiff Securities and Exchange Commission.
The Commission states that, as a professional courtesy, it would not oppose a 7-day extension of
the time allowed by Rule 6.3.
        Pursuant to the Court’s Individual Practices 1.E:
        1. The original due date for a Motion for Reconsideration pursuant to Local Rule 6.3 is
           April 13, 2018.

        2. This is Alpine’s first request for an extension of time in filing a Motion for
           Reconsideration pursuant to Local Rule 6.3.

        3. The new deadline for a Motion for Reconsideration will be April 20, 2018.

        4. The SEC does not object to Alpine’s request.



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       Alpine respectfully requests that the Court approve an extension of time to file a Motion
for Reconsideration of the Court’s Opinion to April 20, 2018.
Respectfully,
THOMPSON HINE

/s/ Maranda E. Fritz
Maranda E. Fritz

cc: Counsel of Record (via CM/ECF)
